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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA
                                                        CRIMINAL ACTION
VERSUS
                                                        NO. 09-106-JJB-2
SHAWNA TICKLES

                             RULING AND ORDER

      These matters are before the Court on Defendant’s motion (doc. 51) to

reveal the identity of the government’s confidential informant (“CI”), and

Defendant’s motion (doc. 55) to sever counts.         The government filed an

opposition to each motion. (Docs. 57 & 58). The Court held oral arguments on

October 29, 2009. For the following reasons, Defendant’s motions are DENIED.

                                   Background

      The government jointly indicted Shawna Tickles and David Mattire,

charging both co-defendants with possession with intent to distribute fifty grams

of cocaine base.    The government also charged Tickles with possession of

marijuana.    Upon Defendants’ unopposed motion, the Court severed the

Defendants, granting separate trials.

      The indictment arises out of an undercover investigation in which a

confidential informant allegedly arranged for a meeting to purchase cocaine from

Mattire. The meeting arose after months of negotiations between the CI and

Mattire. At the arranged meeting, upon a signal from the confidential informant,


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agents arrested Mattire and Tickles. When arrested, Tickles allegedly possessed

a small amount of marijuana.

                              Analysis and Conclusion

Motion to Reveal the CI’s Identity

      Tickles moves the Court to reveal information about the CI.                 She

specifically requests: (1) the identity; (2) the criminal and personal history; (3)

confidential source establishment reports; (4) informant agreements; (5)

informant conduct agreements; (6) payment records; (7) misconduct or

deactivation reports; and, (8) debriefing reports or statements.

      Courts use a three-part test to determine whether disclosure is mandated.

United States v. De Los Santos, 810 F.2d 1326, 1331 (5th Cir. 1987) (applying

Rosario v. U.S., 353 U.S. 53 (1957)). Under the test, courts first evaluate to what

degree an informant participated in the alleged criminal activity; higher

participation favors disclosure.     Id.   Second, courts consider the defendant’s

showing that the testimony would “significantly aid the defendant in establishing

an asserted defense.” Id. Third, courts consider the government’s interest in the

informant’s safety and his future usefulness as an informant. Id.

      The government concedes that the CI substantially participated in the

alleged criminal activity.   Because the CI took part in multiple negotiations,

arranged for the instant drug deal, and acted as the drug buyer, the Court finds

that Tickles has established the first factor.



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       Regarding the second factor, however, the government asserts that

Tickles has failed to show how revealing the CI’s identity would aid in an

“asserted defense.” Indeed, Tickles has not asserted a defense to the charges,

but has argued only that she needs the CI’s information to prepare for trial

because the CI’s credibility will prove determinative.1               Such an argument,

however, amounts to little more than “mere supposition” and does not fulfill her

burden.     See id. at 1332 (denying motion to reveal information where the

defendant asserted no defense but said that the information would be relevant

and helpful to his defense).

       Finally, regarding the third factor, the government asserts that it has a

strong interest in protecting the informant’s identity.               The CI is currently

participating in another undercover investigation and revealing his identity would

jeopardize that investigation.         See id. (informant’s participation in ongoing

investigations weighed against disclosure).             Therefore, the government has

established its interest in not revealing the CI’s identity.

       Thus, the Court finds that the interests militate against disclosure. Even

though the CI’s participation was substantial, Tickles failed to establish how

disclosure will significantly aid in an asserted defense, and the government’s

interests are strong.



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 Indeed, the government must provide much of what Tickles requests as Giglio material. See
Giglio v. U.S., 405 U.S. 150 (1972). This ruling, however, does not address the timing of those
Giglio related disclosures.
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Motion to Sever Charges

      Under the Federal Rules of Criminal Procedure, the government may

charge a defendant in separate counts with two or more offenses if those

offenses are (1) of the same or similar character; (2) based on the same act or

transaction; or, (3) connected with or constitute parts of a common scheme or

plan. Fed. R. Crim. P. 8(a). Even if a matter is properly joined under Rule 8,

however, a defendant may seek severance based on prejudice. Fed. R. Crim. P.

14(a). A court, in its discretion, may sever counts if any party is prejudiced by

joinder. U.S. v. Restrepo, 994 F.2d 173, 186 (5th Cir. 1993).

      Here, Tickles concedes that joinder is proper, thus the Court need not

address that issue. Regarding Rule 14, however, Tickles argues that joinder will

result in prejudice. Tickles asserts that the government’s proof connecting her to

the more serious drug trafficking crime is tangential because she did not actively

engage in any negotiations. Yet, because she possessed marijuana at the time

of the arranged drug transaction, Tickles fears that a jury will conclude that a

drug user is more likely to have been trafficking drugs as well.

      The government responds that severance will not solve the prejudicial

issue because even if severed, the government would seek to introduce

evidence of Tickles’ possession of marijuana in a trial solely on the trafficking

offense. See Manning v. Warden, La. State Penitentiary, 786 F.2d 710, 712 (5th

Cir. 1986) (“When all the evidence at one trial could have been admitted at two

separate trials, there could be no prejudice in having just one trial.”). Instead of
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severance, the government argues that the Court may more efficiently address

any prejudice through jury instructions, especially because this case is not

complex.

      At the outset, the Court notes that there is a substantial likelihood of

prejudice from a jury hearing evidence of both crimes. However, because the

charged crimes arose out of the same arrest, resulting from simultaneous

actions, the possibility of an unfair trial is lessened. Cf U.S. v. Holloway, 1 F.3d

307, 310-11 (5th Cir. 1993) (holding charges should have been severed where

the charges arose from actions committed two months apart).            Indeed, the

government will not rely on a prejudicial nexus between drug users and drug

dealers, but will attempt to establish Tickles’ involvement in the drug trafficking

crime through the testimony of its agents. The use of actual evidence to prove

the drug trafficking crime reduces the risk of prejudice from the drug possession

crime. See U.S. v. Smith, 281 Fed. App’x 303, 304-05 (5th Cir. 2008) (finding the

government’s strong evidence on one count reduced any prejudicial impact from

allegedly improper joinder).

      Instead of severance, the Court can sufficiently mitigate the possibility of

prejudice through limiting instructions. See Smith, 281 Fed. App’x at 305; U.S. v.

Bullock, 71 F.3d 171, 175 (5th Cir. 1995) (also noting that juries are presumed to

follow the court’s instructions). Here, where the facts are not complex and the

charges are few, a jury should have little trouble following those instructions.



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Therefore, the Court finds that in light of alternative remedies, severance of

counts is not necessary to avoid possible prejudice.

      Accordingly, Defendant’s motion (doc. 51) to reveal the identity of the

confidential informant is hereby DENIED. Also, Defendant’s motion (doc. 55) to

sever counts is hereby DENIED.

      Signed in Baton Rouge, Louisiana, this 10th day of November.



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                                 JUDGE JAMES J. BRADY
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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA




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